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 6                            UNITED STATES DISTRICT COURT
 7                        CENTRAL DISTRICT OF CALIFORNIA
 8
 9    PATRICK MOONEY,                   ) Case No. EDCV 11-1251-JPR
                                        )
10                       Plaintiff,     )
                                        )           JUDGMENT
11                 vs.                  )
                                        )
12    COMMISSIONER OF SOCIAL            )
      SECURITY ADMINISTRATION,          )
13                                      )
                         Defendant.     )
14                                      )
                                        )
15
16         For the reasons set forth in the accompanying Memorandum

17 Opinion and Order, it is hereby ADJUDGED AND DECREED THAT (1)
18 Plaintiff’s request for an order remanding the case for further
19 proceedings is DENIED; (2) the Commissioner’s request for an
20 order affirming the Commissioner’s final decision and dismissing
21 the action is GRANTED; and (3) judgment is hereby entered in the
22 Commissioner’s favor.
23
24 DATED:      June 12, 2012             _________________________
                                         JEAN P. ROSENBLUTH
25                                       U.S. Magistrate Judge
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